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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                 )   Criminal No. 21-176(1) SRN
                                          )
                            Plaintiff,    )
       v.                                 )   MOTION TO WITHDRAW AND FOR
MUNAH HARRIS YOUSSEF,                     )   APPOINTMENT OF SUBSTITUTE
                                          )   COUNSEL
                        Defendant.        )


       Comes now Katherian D. Roe, on behalf of appointed counsel for Munah Harris

Youssef, and hereby moves the Court to allow counsel to withdraw from representing the

defendant and requests that the Court appoint substitute counsel to represent the defendant

in the above proceedings.

       Former counsel for the defendant, AFD Keala Ede, has been appointed to the

Hennepin County District Court Bench and is no longer practicing law as an attorney.

       Therefore, counsel requests that the Court grant this motion to withdraw and that

attorney Andrew H. Mohring from the Criminal Justice Act Panel be appointed to represent

the defendant.



Dated: April 19, 2022                         Respectfully submitted,

                                              s/Katherian D. Roe


                                              KATHERIAN D. ROE
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